Court of Appeals
of the State of Georgia

                                         ATLANTA,____________________
                                                  August 27, 2024

The Court of Appeals hereby passes the following order:

A25A0191. MILES COLLINS v. THE STATE.

      In 2022, Miles Collins was indicted on multiple charges including felony
murder. In 2023, the trial court declared a mistrial, after which Collins filed a plea in
bar. The court denied the plea in bar in May 2024, and Collins filed this pro se appeal.
      The Supreme Court of Georgia has appellate jurisdiction over “[a]ll cases in
which a sentence of death was imposed or could be imposed.” Ga. Const. of 1983, Art.
VI, Sec. VI, Par. III (8). Because a penalty of death may be imposed for the crime of
felony murder, jurisdiction over this appeal lies in the Supreme Court. See OCGA
§ 16-5-1 (c), (e) (1); State v. Murray, 286 Ga. 258, 259 (1) (687 SE2d 790) (2009)
(where the murder count of an indictment remains pending, jurisdiction of an appeal
from a pre-conviction order lies in the Supreme Court); see also State v. Thornton, 253
Ga. 524, 524 (1) (322 SE2d 711) (1984) (directing this Court to transfer to the
Supreme Court “all cases in which either a sentence of death or of life imprisonment
has been imposed upon conviction of murder, and all pre-conviction appeals in
murder cases”), overruled in part on other grounds as recognized in Elliott v. State,
305 Ga. 179, 205 (III) (C) (i) (824 SE2d 265) (2019).
      Accordingly, this appeal is hereby TRANSFERRED to the Supreme Court for
disposition.




                                   Court of Appeals of the State of Georgia
                                     Clerk’s Office, Atlanta,____________________
                                                                 08/27/2024
                                              I certify that the above is a true extract from
                                   the minutes of the Court of Appeals of Georgia.
                                             Witness my signature and the seal of said court
                                   hereto affixed the day and year last above written.


                                                                                     , Clerk.
